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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 J.G.G., et al.,

         Plaintiffs,
                                                        Civil Action No. 25-766 (JEB)
                   v.
 DONALD J. TRUMP, et al.,

         Defendants.




                                             ORDER

       On March 15, 2025, this Court issued two Temporary Restraining Orders that will expire

on March 29, 2025, unless extended. See Fed. R. Civ. P. 65(b)(2). Those TROs enjoin

Defendants from removing from the United States the named Plaintiffs — and a provisionally

certified class of all noncitizens in U.S. custody — solely on the basis of the Presidential

Proclamation entitled, “Invocation of the Alien Enemies Act Regarding the Invasion of the

United States by Tren de Aragua.” 90 Fed. Reg. 13033, 13034 (Mar. 14, 2025); see Minute

Orders of Mar. 15, 2025. Plaintiffs have now filed a Motion to Extend the TROs for another 14

days for “good cause.” ECF No. 64 (Mot.) at 1; see also Fed. R. Civ. P. 65(b)(2) (court may

extend TRO for “like period” if there is “good cause” to do so). Defendants oppose such

extension, resting primarily on their earlier submissions. See ECF No. 65 (Opp.) at 1.

       “Good cause” to extend a TRO exists whenever there has been “a showing that the

grounds for originally granting the [TRO] continue to exist.” Costa v. Bazron, 2020 WL

2410502, at *2 (D.D.C. May 11, 2020) (alteration in original) (quoting Wright & Miller, 11A




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Federal Practice and Procedure § 2953 (3d ed. Apr. 2020 Update)). “[C]ourts have also found

‘good cause’ where more time is needed fully to consider the parties’ arguments and motions or

‘where the moving party need[s] additional time to prepare and present its preliminary

injunction.’” Id. (quoting SEC v. Arisebank, 2018 WL 10419828 at *1 (N.D. Tex. Mar. 9,

2018)).

          Both grounds are present here. As this Court recently explained, Plaintiffs are entitled to

a TRO enjoining their removal at least until they have had a chance to challenge that they are

covered by the Proclamation. See ECF No. 53 (Mem. Op.) at 3. That is so because they are

likely to succeed on the merits of their claim that they are entitled to such an opportunity, see id.

at 23–30; see also id. at 13–18 (claim appropriately brought under Administrative Procedure

Act); that they will suffer irreparable harm in the absence of emergency relief, see id. at 33–35;

and that the balance of equities and the public interest tilt in their favor. See id. at 36–37. No

developments have taken place since the entry of the TROs that call these judgments into

question. Cf. Order, J.G.G. v. Trump, No. 25-5067 (D.C. Cir. Mar. 26, 2025) (denying

Government’s application for emergency stay of TROs). Indeed, Defendants have thus far not

committed to granting putative class members any opportunity to challenge their classification

before summary removal. See id. at 70 (Millett, J., concurring) (“The government’s position at

oral argument was that, the moment the district court TROs are lifted, it can immediately resume

removal flights without affording Plaintiffs notice of the grounds for their removal or any

opportunity to call a lawyer, let alone to file a writ of habeas corpus or obtain any review of their

legal challenges to removal.”). That only underscores the continuing need for injunctive relief.

          This Court has, moreover, set a schedule for briefing and arguing Plaintiffs’ forthcoming

Motion for a Preliminary Injunction. See Third Minute Order of Mar. 26, 2025. It is therefore




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appropriate to extend the current TROs to permit the parties ample opportunity to address the

legal and factual bases for continuing injunctive relief. See Bazron, 2020 WL 2410502, at *2.

The Court, accordingly, ORDERS that the TROs entered on March 15, 2025, are extended and

shall remain in effect until April 12, 2025, or until further order of the Court.



                                                               /s/ James E. Boasberg
                                                               JAMES E. BOASBERG
                                                               United States District Judge
Date: March 28, 2025




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